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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

IN RE:                                        :      CHAPTER 7
                                              :
ALLIED ENERGY SERVICES, LLC,                  :      CASE NO. 20-61244-jwc
                                              :
                Debtor                        :
                                              :
                                              :
JORDAN E. LUBIN,                              :
as Chapter 7 Trustee,                         :      ADVERSARY PROCEEDING
                                              :      NO. ______________
                Plaintiff,                    :
                                              :
v.                                            :
                                              :
JENNIFER WILSON,                              :
                                              :
                Defendant                     :
                                              :

              COMPLAINT TO (1) AVOID AND SET ASIDE TRANSFERS,
     (2) RECOVER PROPERTY OR ITS VALUE FOR THE BENEFIT OF THE ESTATE,
                       AND (3) GRANT RELATED RELIEF

         COMES NOW Jordan E. Lubin, Chapter 7 Trustee (“Trustee” or “Plaintiff”) for the

bankruptcy estate of Allied Energy Services, LLC (“Debtor”), by and through undersigned

counsel, and files this “Complaint to (1) Avoid and Set Aside Transfers, (2) Recover Property or

its Value for the Benefit of the Estate, and (3) Grant Related Relief” (the “Complaint”),

respectfully showing as follows:

                                     Jurisdiction and Venue

         1.     This Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C. §§

157 and 1334.

         2.     This adversary proceeding is a core proceeding under 28 U.S.C. § 157(b)(2)(A),

(H), and (O), and Trustee consents to entry of final orders or judgments by this Court.
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        3.     Defendant Jennifer Wilson (“Defendant”) is a Georgia resident that is subject to the

jurisdiction of this Court and may be served at her residence at 2222 Mura Drive, Augusta, GA

30906-4818.

        4.     Venue is proper in this Court under 28 U.S.C. §1409 because this adversary

proceeding arises under the Chapter 7 bankruptcy case of Allied Energy Services, LLC pending in

the United States Bankruptcy Court for the Northern District of Georgia, Atlanta Division, Case

No. 20-61244-jwc.

                                    Appointment of Trustee

        5.     This case was commenced by the filing of an involuntary petition for relief under

Chapter 7 of Title 11 of the United States Code (the “Bankruptcy Code”) against Debtor on January

22, 2020.

        6.     The Court entered an Order for Relief (the “Order for Relief”) on February 20, 2020

granting the involuntary petition and declaring Debtor a Chapter 7 debtor.

        7.     Trustee was appointed as the interim Chapter 7 trustee in this case on February 24,

2020.

        8.     The meeting of creditors was concluded on September 24, 2020. Trustee is the duly

appointed trustee in this case pursuant to 11 U.S.C. § 702(d).

                                           Background

        9.     Debtor, by and through its Chief Executive Officer, President, and Managing

Member, Clarence Dean Alford (“Dean Alford”), engaged in a scheme to fraudulently induce

parties to invest in Debtor through the purchase of investment notes (the “Notes”). Each party that

invested in good faith in Debtor through the purchase of Notes is hereinafter referred to as a “Note

Holder.”



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       10.     Debtor, by and through Dean Alford, induced Note Holders to purchase Notes from

Debtor by, among other acts, (i) by misrepresenting and exaggerating Debtor’s experience and

expertise in developing various energy projects, (ii) misrepresenting Debtor’s financial condition,

and (iii) providing financial statements that falsely conveyed the impression that they had been

prepared or reviewed by certified public accountants.

       11.     The financial statements provided by Debtor to induce Note Holders to purchase

Notes from Debtor included a “Balance Sheet as of 12/31/18” reflecting total assets of

approximately $162 million (including $5 million in cash) and an “Income Statement” reflecting

“total gross revenues” of approximately $33.8 million in 2016, $36.2 million in 2017, and $40.5

million in 2018.

       12.     As of December 31, 2018, Debtor’s assets were less than $1 million and gross

receipts had declined to $434,342.

       13.     Debtor, by and through Dean Alford, knew the financial statements were false and

that Debtor was financially struggling, forcing staffing and resource cuts as early as 2014.

       14.     Debtor, by and through Dean Alford, misrepresented that funds invested by Note

Holders for the purchase of Notes would be kept in escrow and held in a no-risk escrow account

until Georgia Power awarded Debtor a specific project, and further that the bid fees would enable

Debtor to pay interest to Note Holders as promised under the Notes.

       15.     All funds invested by Note Holders for the purchase of Notes were commingled in

Debtor’s accounts and not placed in an escrow account. No funds invested by Note Holders were

deposited into an escrow account.

       16.     Debtor, by and through Dean Alford, knowingly used Debtor’s funds, including

funds invested from the sale of Notes, to pay Dean Alford’s personal expenses and other payments



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unrelated to Debtor’s business or operations including, without limitation, the construction costs

associated with a multi-million dollar home. Debtor received no benefits from the use of the funds

to pay Dean Alford’s personal expenses and other payments unrelated to Debtor’s business or

operations.

       17.     On July 30, 2020, the Securities and Exchange Commission (the “SEC”) filed a

complaint in the United States District Court for the Northern District of Georgia, Atlanta Division,

against Dean Alford alleging, among other things, that as Chief Executive Officer, President, and

Managing Member of Debtor, Dean Alford defrauded over 100 investors, including the Note

Holders.

       18.     On April 2, 2021, the District Court entered Final Judgment against Dean Alford

and ordered disgorgement of amounts improperly received from the conduct alleged above.

                                  Transfers to Jennifer Wilson

       19.     Between December 2017 and September 2018, or thereabouts, Debtor paid or

transferred to Defendant by check from Debtor’s account(s) a total of $260,000 as set forth below

(the “Transfers”):

                      Check Number                 Date             Amount
                          1631                  6/19/2019       $     14,000.00
                          1621                  6/19/2019       $    123,000.00
                          1636                   8/7/2019       $    123,000.00


       20.     The Transfers were in furtherance of a scheme to defraud creditors and Note

Holders and were made with the actual intent to hinder, delay, or defraud creditors and Note

Holders.




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       21.      Defendant knew or should have known that amounts paid or transferred to her by

Debtor represented proceeds of a fraudulent scheme and were made with the intent to hinder, delay

or defraud creditors and Note Holders.

                                          Count I
             Avoidance and Recovery of Transfers Pursuant to 11 U.S.C. §544(b)(1)

       22.      Trustee incorporates the allegations of Paragraphs 1 through 21 of the Complaint

as though set forth fully herein.

       23.      To the extent the recovery in this Count may be inconsistent with or duplicative of

any other Count, it is to be treated as being pleaded in the alternative to the extent of the

inconsistency or duplication.

       24.      The involuntary petition commencing this case was filed January 22, 2020 (the

“Petition Date”).

       25.      The Transfers occurred within four years of the Petition Date.

       26.      The Transfers were made with actual intent to hinder, delay, or defraud creditors of

Debtor to which Debtor was or became indebted on or after the date that the Transfers were made.

       27.      The Transfers were transfers of an interest of Debtor in property within the meaning

of Sections 101(54) and 544(a) of the Bankruptcy Code.

       28.      Debtor received less than reasonably equivalent value, or did not receive fair

consideration, in exchange for the Transfers.

       29.      Debtor was insolvent at the time of each of the Transfers and/or was rendered

insolvent as a result of the Transfers in that Debtor’s liabilities exceeded its assets; or Debtor was

engaged in business or a transaction for which any property remaining with Debtor was an

unreasonably small capital at the time of or as a result of each of the Transfers; or Debtor intended




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to incur, or believed that it would incur, debts beyond its ability to pay as such debts matured at

the time of each of the Transfers.

        30.    When the Transfers were made, there have been one or more creditors who have

held and still hold matured or unmatured unsecured claims against Debtor, including Note Holders

and numerous consumers with state law fraud claims and federal security fraud claims. These

claims against Debtor were and are allowable under Section 502 of the Bankruptcy Code or were

and are not allowable only under Section 502(e) of the Bankruptcy Code.

        31.    The Transfers are voidable pursuant to O.C.G.A. § 18-2-74(a)(1) and (2).

        32.    Pursuant to 11 U.S.C. § 544(b)(1), Trustee has the standing, power, and authority

to avoid the Transfers under O.C.G.A. § 18-2-74(a)(1) and (2).

                                        Count II
              Avoidance and Recovery of Transfers Pursuant to 11 U.S.C. §548

        33.    Trustee incorporates the allegations of Paragraphs 1 through 32 of the Complaint

as though set forth fully herein.

        34.    To the extent the recovery in this Count may be inconsistent with or duplicative of

any other Count, it is to be treated as being pleaded in the alternative to the extent of the

inconsistency or duplication.

        35.    The Transfers occurred within two years of the Petition Date.

        36.     The Transfers were made with actual intent to hinder, delay, or defraud creditors

of Debtor to which Debtor was or became indebted on or after the date that the Transfer were

made.

        37.    The Transfers were transfers of an interest of Debtor in property within the meaning

of Sections 101(54) and 548(a) of the Bankruptcy Code.




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         38.    Debtor received less than reasonably equivalent value, or did not receive fair

 consideration, in exchange for the Transfers.

         39.    Debtor was insolvent at the time of each of the Transfers and/or was rendered

 insolvent as a result of the Transfers in that Debtor’s liabilities exceeded its assets; or Debtor was

 engaged in business or a transaction for which any property remaining with Debtor was an

 unreasonably small capital at the time of or as a result of each of the Transfers; or Debtor intended

 to incur, or believed that it would incur, debts beyond its ability to pay as such debts matured at

 the time of each of the Transfers.

         40.    The Transfers are voidable pursuant to Section 548(a)(1)(A) and (B).

                                           Count III
                        Recovery of Transfers Pursuant to 11 U.S.C. §550

         41.    Trustee incorporates the allegations of Paragraphs 1 through 41 of the Complaint

as though set forth fully herein.

         42.    Defendant is the initial transferee of the Transfers.

         43.    Accordingly, pursuant to 11 U.S.C. § 550 Trustee is entitled to recover from

Defendant the Transfers, or their value to the extent the Transfers are avoided.

       WHEREFORE, Trustee respectfully requests that the Court enter judgment in favor of the

Trustee and against Defendant as follows:

         (a)    declaring that the Transfers constitute avoidable fraudulent transfers pursuant to

 O.C.G.A. § 18-2-74(a)(1) and (2);

         (b)    declaring that the Transfers constitute avoidable fraudulent transfers pursuant to

 Section 548(a) of the Bankruptcy Code;

         (c)    preserving the Transfers for the benefit of Debtor’s estate pursuant to Section 551

 of the Bankruptcy Code;

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       (d)     avoiding the Transfers, and directing and ordering that Defendant return to Trustee,

pursuant to Sections 544, 548, and 550 of the Bankruptcy Code and O.C.G.A. §§ 18-2-77 and 18-

2-78, the full value of the Transfers, and awarding judgment against Defendant in an amount equal

to the avoided Transfers; and

       (e)     granting to Trustee such other and further or alternative relief as may be just and

proper, including costs.

Dated: February 18, 2022

                                                            LAMBERTH, CIFELLI,
                                                            ELLIS & NASON, P.A.
                                                            Counsel for Trustee

                                                            By: /s/ G. Frank Nason, IV
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